Case 2:16-cv-14562-RLR Document 21 Entered on FLSD Docket 04/07/2017 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 2:16-cv-14562-RLR


  SALVATORE SOFIA, on behalf of himself
  and all others similarly situated,


         Plaintiff,

  v.

  SOLOMON, VIGH, P.A., a Florida
  Professional Corporation and
  MARVIN SOLOMON, individually,

        Defendants.
  _________________________________________/

                                  NOTICE OF SETTLEMENT

         Plaintiff, SALVATORE SOFIA, gives notice to the Court that Plaintiff has agreed upon

  the terms of an individual settlement with Defendants, SOLOMON, VIGH, P.A. and MARVIN

  SOLOMON.

         Plaintiff requests 45 days to draft and execute the Settlement Agreement and effectuate its

  terms before being required to submit closing documents to the Court.



                                                      Respectfully submitted,

                                                      /s/ Leo W. Desmond
                                                      Leo W. Desmond, Esq.
                                                      Florida Bar No. 0041920
                                                      DESMOND LAW FIRM, P.C.
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                                                      Facsimile (772) 231-0300

                                                      Attorney for Plaintiff

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Case 2:16-cv-14562-RLR Document 21 Entered on FLSD Docket 04/07/2017 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 7, 2017, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

  this day via U.S. Mail and/or some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Filing to:

  SERVICE LIST
  Robert A. Vigh
  Florida Bar No. 0991902
  SOLOMON, VIGH, P.A.
  P.O. BOX 3275
  Tampa, Florida 33601
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  Facsimile: 813.229.2158
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  Attorney for Defendants




                                                                   Respectfully submitted,

                                                                   /s/ Leo W. Desmond
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                                                                   Attorney for Plaintiff




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